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                              United States District Court
                             Western District of Kentucky
                                  Office of the Clerk
                             601 W. Broadway, Room 106
                            Louisville, Kentucky 40202-2249
                                     (502) 625-3500
                                www.kywd.uscourts.gov

                                     December 30, 2020

                                           NOTICE
Renaissance/The Park, LLC                                                                    Plaintiff

v.                                                      Jefferson Circuit Case No. 20-CI-006955

Cincinnati Insurance Company                                                                Defendant


        Notice is hereby given that the above-styled civil action has been removed from the
Jefferson Circuit Court and filed in the Western District of Kentucky at Louisville as of
December 30, 2020. This action has been assigned to the Honorable Judge
Rebecca G. Jennings, case number 3:20-cv-864-RGJ.

       Please refer to this case number on all future filings.


                                                                 Sincerely,
                                                                 Vanessa L. Armstrong, Clerk

                                                                 By:   /s/ Sarah Jeffries
                                                                       Deputy Clerk


cc:    Counsel of Record
       Jefferson Circuit Court
